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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:14-CR-00238 GEB
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           [PROPOSED] FINDINGS AND ORDER
14   RICKY MARTIN HUERTA,                                DATE: January 9, 2015
                                                         TIME: 9:00 a.m.
15                                Defendant.             COURT: Hon. Garland E. Burrell, Jr.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for status on January 9, 2015.

21          2.      By this stipulation, parties now move to continue the status conference until February 13,

22 2015, and to exclude time between January 9, 2015, and February 13, 2015, under Local Code T4. The

23 parties believe that the February 13, 2015, status conference will be a change of plea.

24          3.      The parties agree and stipulate, and request that the Court find the following:

25                  a)     The government has represented that the discovery associated with this case

26          includes investigative reports and related documents in electronic form, including approximately

27          180 pages of documents and pictures. Discovery has been either produced directly to counsel

28          and/or made available for inspection and copying.


      STIPULATION REGARDING EXCLUDABLE TIME              1
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 1                  a)     Counsel for defendant desires additional time to consult with his client, review the

 2          current charges, review discovery for this matter, and to discuss discovery with his client as it

 3          relates to entry of a guilty plea. Further, within the last few days, defense counsel has discovered

 4          that there may be criminal history with his client that could impact the plea agreement and for

 5          this reason additional time is necessary to properly advise the defendant regarding the possible

 6          impact to the plea agreement.

 7                  b)     Counsel for defendant believes that failure to grant the above-requested

 8          continuance would deny him/her the reasonable time necessary for effective preparation, taking

 9          into account the exercise of due diligence.

10                  c)     The government does not object to the continuance.

11                  d)     Based on the above-stated findings, the ends of justice served by continuing the

12          case as requested outweigh the interest of the public and the defendant in a trial within the

13          original date prescribed by the Speedy Trial Act.

14                  e)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

15          et seq., within which trial must commence, the time period of January 9, 2015 to February 13,

16          2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

17          T4] because it results from a continuance granted by the Court at defendant’s request on the basis

18          of the Court’s finding that the ends of justice served by taking such action outweigh the best

19          interest of the public and the defendant in a speedy trial.

20          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

21 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

22 must commence.

23          IT IS SO STIPULATED.

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      STIPULATION REGARDING EXCLUDABLE TIME               2
      PERIODS UNDER SPEEDY TRIAL ACT
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     Dated: January 6, 2015                        BENJAMIN B. WAGNER
 1                                                 United States Attorney
 2
                                                   /s/ CHRISTIAAN HIGHSMITH
 3                                                 CHRISTIAAN HIGHSMITH
                                                   Assistant United States Attorney
 4

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 7 Dated: January 6, 2015                          /s/ CHRISTIAAN HIGHSMITH
                                                   (signed with permission of
 8                                                 RICARDO HERNANDEZ)
                                                   RICARDO HERNANDEZ
 9
                                                   Counsel for Defendant
10                                                 Ricky Martin Huerta

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13
                                 [PROPOSED] FINDINGS AND ORDER
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           IT IS SO FOUND AND ORDERED.
15
     Dated: January 6, 2015
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      STIPULATION REGARDING EXCLUDABLE TIME    3
      PERIODS UNDER SPEEDY TRIAL ACT
